          Case 5:04-cv-01635-C Document 29 Filed 01/12/06 Page 1 of 2



               IN THE UNITED STATES DISTRICT COURT FOR THE

                        WESTERN DISTRICT OF OKLAHOMA


TAMMY L. HARLIN,                             )
                                             )
                            Plaintiff        )
                                             )
              vs.                            )          No. CIV-04-1635-C
                                             )
JO ANNE B. BARNHART,                         )
Commissioner, Social Security                )
Administration,                              )
                                             )
                            Defendant        )


              ORDER ADOPTING REPORT AND RECOMMENDATION


       This civil action requesting review of the decision of the Commissioner, Social

Security Administration, denying Plaintiff’s applications for disability and supplemental

security income benefits was referred to United States Magistrate Judge Bana Roberts

consistent with the provisions of 28 U.S.C. § 636(b)(1)(B). Judge Roberts entered her Report

and Recommendation, recommending that the decision of the Commissioner be affirmed, on

November 30, 2005. Plaintiff timely objected, and filed a supplement to her objection, and

the Court therefore considers the matter de novo.

       The relevant facts and applicable law are fairly and accurately set out in the Report

and Recommendation of the Magistrate Judge and need not be repeated here. In objection,

Plaintiff argues the same issues raised and rejected by the Magistrate Judge. Although

additional explanation, advocacy, and a recent case are urged by Plaintiff in support of her
          Case 5:04-cv-01635-C Document 29 Filed 01/12/06 Page 2 of 2



request that the Commissioner’s decision be reversed, the Court, upon a careful examination

of the facts and law, agrees in all respects with the conclusions of the Magistrate Judge.

       Accordingly, the Report and Recommendation of Judge Roberts is adopted, in its

entirety, and for the reasons stated therein, the decision of the Commissioner is affirmed. A

judgment will enter accordingly.

       IT IS SO ORDERED this 12th day of January, 2006.




                                             2
